
PER CURIAM
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent notarized signatures *287to a quitclaim deed, which signatures were made outside of her witness, and then filed the deed, which contained false information, into a succession proceeding. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline in which respondent admitted that her conduct violated Rules 8.4(a), 8.4(c), and 8.4(d) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Cherie Elizabeth Teamer, Louisiana Bar Roll number 36286, be suspended from the practice of law for a period of one year. This suspension shall be deferred in its entirety, subject to respondent's successful completion of a one-year period of supervised probation governed by the conditions set forth in the petition for consent discipline. The probationary period shall commence from the date respondent, the probation monitor, and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
